                        Case 6:04-cr-00010-JRH
  AO 247 (02/08) Order Regarding Motion for Sentence Reduction   Document 312 Filed 07/09/08 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                          Southern District of Georgia
                                                                 Statesboro Division -              LC[d J.            j   : 72
                    United States of America                             )
                                v.                                       )
                                                                         ) Case No: CR604-00010-00
                           Abe McKinnon
                                                                         ) USMN0: 11988-021
Date of Previous Judgment:          March 31, 2005                       ) Lorenzo C. Merritt
(Use Date of Last Amended Judgment if Applicable)                        ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant     the Director of the Bureau of Prisons   the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERJD that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 121       months is reduced to          108 months
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     32                                             Amended Offense Level:     30
Criminal History Category: I                                               Criminal History Category:
Previous Guideline Range:   121                  to 151 months             Amended Guideline Range 97 to 121                 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
    The reduced sentence is within the amended guideline range.
Lii The previous terni of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
    Other (explain):




III. ADDITIONAL COMMENTS

If this sentence is less than the amount of time the defendant has already served, the sentence is reduced to a
'Time Served' sentence.
Except as provided above, all provisions of the judgment dated March 31, 2005                           shall remain in effect.
IT IS SO ORDERED.

OrderDate:
                                                                                                      'S signature


                                                                           B, Avant EdeifieId
                                                                           United States District Judge
Effective Date:                                                            For the Southern District of Georgia
                     (if different from order date)                                           Printed name and title
